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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


TRAVIS NICHOLS, on behalf of himself                  CASE NO. 21-cv-3362
and all others similarly situated,
                                                      JURY TRIAL DEMANDED
                              Plaintiff,

       v.

ROMEO POWER INC. (f/k/a RMG
ACQUISITION CORP.), LIONEL E.
SELWOOD, JR., LAUREN WEBB,
ROBERT S. MANCINI, PHILIP KASSIN,
D. JAMES CARPENTER, STEVEN P.
BUFFONE, W. GRANT GREGORY, W.
THADDEUS MILLER, and CRAIG
BRODERICK,

                              Defendants.


                               CLASS ACTION COMPLAINT

       Plaintiff Travis Nichols (“Plaintiff”), by his attorneys, on behalf of himself and all others

similarly situated, alleges the following based upon the investigation by Plaintiff’s counsel,

except as to allegations specifically pertaining to Plaintiff, which are based on personal

knowledge. The investigation by counsel included, among other things, a review of Romeo

Power Inc.’s (“Romeo” or the “Company”) (f/k/a RMG Acquisition Corp.) public filings with

the United States Securities and Exchange Commission (“SEC”), press releases issued by the

Company, public conference calls, media and news reports about the Company, and publicly

available trading data relating to the price and volume of Romeo securities.

                                   I.       INTRODUCTION

       1.      This action is a securities action brought under Sections 10(b) and 20(a) of the

Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated thereunder
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by the SEC, brought by Plaintiff on behalf of a class of all persons and entities who purchased

the publicly traded securities of Romeo during the period October 5, 2020 through March 30,

2021, inclusive (the “Class Period”).

       2.      On February 12, 2019, RMG Acquisition Corp. (“RMG”), a New York City-

based special purpose acquisition company, or SPAC, announced that it closed its initial public

offering of 20 million units at $10 per share, resulting in gross proceeds of $200 million. The

units began trading on the New York Stock Exchange (“NYSE”) under the ticker symbol

“RMG.U”. Each unit consisted of one share of the Company’s Class A common stock and one-

third of one warrant, with each whole warrant enabling the holder thereof to purchase one share

of Class A common stock at a price of $11.50 per share. When the shares of Class A common

stock and warrants began separate trading, they traded on the NYSE under the symbols “RMG”

and “RMG.WS.”

       3.      RMG was formed by Defendants D. James Carpenter (“Carpenter”), Robert

Mancini (“Mancini”) and Philip Kassin (“Kassin”), and was formed for the purpose of entering

into a merger, capital stock exchange, asset acquisition, stock purchase, reorganization or similar

business combination with one or more businesses in the diversified resources and industrial

materials sectors.

       4.      On October 5, 2020, RMG announced a definitive agreement for a business

combination with Defendant Romeo that would result in Romeo becoming a publicly listed

company. Romeo was founded in 2016, and according to its SEC filings, Romeo purports to be

an industry leading energy technology company focused on designing and manufacturing

lithium-ion battery modules and packs for commercial electric vehicles. Romeo asserts that

through its industry leading energy dense battery modules and packs, it enables large-scale



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sustainable transportation by delivering safe, longer lasting batteries with shorter charge times.

Romeo’s core product offering purportedly serves the battery electric vehicle (BEV) medium

duty short haul and heavy duty long haul trucking markets, as well as specialty trucking and

buses.

         5.    Upon closing of the transaction, the combined entity would be named Romeo

Power, Inc. and would remain listed on the NYSE and trade under the new ticker symbol

“RMO” and its warrants would trade under the new symbol “RMO.WT”. Under the proposed

transaction, at closing, Romeo would receive approximately $340 million in cash, which was a

combination of RMG cash and cash from a PIPE (private investment in public entity)

investment.

         6.    During the Class Period, Defendants represented that for 2020 Romeo estimated

revenue of $11 million, and for 2021 Romeo estimated revenue of $140 million. Defendants

further represented that Romeo had “key partnerships” and close relationships with LG Chem,

Samsung, Murata and SK Innovation, which manufacture battery cells, a key component in

Romeo’s battery modules and packs and that they were supplying Romeo with battery cells.

Furthermore, Defendants represented that Romeo had the capacity and supply to meet end-user

demand for Romeo’s products, that Romeo was not beholden “to any level of the value chain”,

that its supply was hedged, and that it did not see any material challenges that would hamper

growth.

         7.    On December 29, 2020, Romeo announced that it completed its business

combination with RMG. The business combination was approved by RMG stockholders in a

special meeting held on December 28, 2020 and consummated on December 29, 2020.




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Beginning on December 30, 2020, Romeo’s common stock and warrants began trading on the

NYSE under the new ticker symbols “RMO” and “RMO.WT”.

       8.     Unknown to investors, Romeo was suffering from an acute shortage of high

quality battery cells, which are key raw materials for Romeo’s battery packs and modules, due to

supply constraints. Contrary to Defendants’ representations, (i) Romeo had only two battery cell

suppliers, not four, (ii) the future potential risks that Defendants warned of concerning supply

disruption or shortage had already occurred and were already negatively affecting Romeo’s

business, operations and prospects, (iii) Romeo did not have the battery cell inventory to

accommodate end-user demand and ramp up production in 2021, (iv) Romeo’s supply constraint

was a material hindrance to Romeo’s revenue growth, and (v) Romeo’s supply chain for battery

cells was not hedged, but in fact, was totally at risk and beholden to just two battery cell

suppliers and the spot market for their 2021 inventory. Given the supply constraint that Romeo

was experiencing during the Class Period, Defendants had no reasonable basis to represent that

the Company had the ability to meet customer demand and that it would support growth in

revenue in 2021.

       9.     Then, on March 30, 2021, after the market closed, Romeo issued a press release

and filed a report with the SEC on Form 8-K that disclosed its financial results for the quarter

and year ended December 31, 2020, and conducted a conference call with investors and analysts.

Defendants shocked investors by disclosing that the Company’s production had been hampered

by a shortage in supply of battery cells and that its estimated 2021 revenue would therefore be

reduced by approximately 71-87%:

         Regarding our 2021 outlook, we expect that our near term production and
         revenues will be constrained by the shortage in supply of battery cells. As the
         electric vehicle industry has experienced massive acceleration in recent months,
         the demand for raw materials and cells has outpaced supply. We expect that this


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         cell shortage will result in Romeo Power’s full year 2021 revenues being
         materially lower than originally projected. While frustrated, by this delay in
         bringing our solutions to market, we are working diligently with our preferred
         cell supply partners to secure allocation and continuous cell innovation for the
         near-intermediate and longer-term. . . .

         2021 Outlook

         As global electrification of the powertrain has hit an inflection point, the
         industry is experiencing a massive acceleration in growth and the demand for
         raw materials is outpacing supply. Romeo Power is currently subject to these
         supply constraints and, as a result of the significant shortfall in battery cell
         capacity industrywide, Romeo Power now expects its revenue for 2021 to be in
         the range of $18-40 million. The Company is currently pursuing extensive
         discussions with several preferred providers regarding establishing long-term
         cell supply agreements. . . .

       10.    During a conference call with investors after the disclosure of Romeo’s financial

results and projected results, Defendant Selwood, Jr. disclosed the following concerning

Romeo’s battery cell suppliers:

       [Analyst]: . . . I just kind of want to hear how that went down, when you first
       realized there was a serious problem with the supply that cut the revenue, because
       part of the story I thought was you know, you have four suppliers, four main cell
       suppliers well down to your selection process from I get you get the 100 and 10 to
       4 and part of the investment thesis on this is that, because you had spread out
       these relationships across the four the best [c]ell suppliers in the world, that we
       could have really managed the risk or at least had visibility on something like this.
       So I’m curious, when did it first come up and was it all four cell suppliers at the
       same time? Or is there kind of a disproportionate just dependency on one or two
       of them? My first question.

       [Defendant Selwood, Jr.]: Hey, Adam. Thanks again for joining us. So, just a
       quick clarification, four part numbers, not four different cell suppliers, so our, our
       preferred cell suppliers that we -- that we put in the forecast are LG and Samsung,
       okay. I just wanted to clarify from those two suppliers.

       11.    On March 31, 2021, Morgan Stanley issued a research report in which it

downgraded Romeo’s target price per share from $12 to $7 and stated the following:

       When we initiated on RMO at UW on February 12th our concerns around the
       battery pack business centered mainly on competition. While we have expressed
       concerns around potential industry-wide battery shortages in the next few years,


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       we had not contemplated this risk to hit RMO in its very first quarter as a public
       company. Following management guidance on revenue, opex/R&D/capex and
       other items, we have made material downward revisions to our forecasts and price
       target and reiterate our UW rating. . . .

       While the company says it is aggressively pursuing paths to achieve long term
       supply contracts with key cell providers, given the risks in doing so we believe
       investors should allow for a high degree of margin of safety and should have a
       significantly better risk/reward before investing in the shares.

       12.     On March 31, 2021, Romeo shares declined from a closing price on March 30,

2021 of $10.37 per share to close at $8.33 per share, a decline of $2.04 per share, or almost 20%,

on heavier than usual volume of over 20 million shares.

       13.     As a result of Defendants’ wrongful acts and omissions, and the precipitous

decline in the market value of the Company’s securities, Plaintiff and other Class members have

suffered significant losses and damages.

                             II.    JURISDICTION AND VENUE

       14.     The claims asserted arise under Sections 10(b) and 20(a) of the Exchange Act and

Rule 10b-5 promulgated thereunder. Jurisdiction is conferred by Section 27 of the Exchange

Act. Venue is proper pursuant to Section 27 of Exchange Act because during the Class Period

Romeo’s predecessor, RMG, resided and conducted business in this District, Romeo stock is

listed and trades on the NYSE in this District, certain Defendants reside or conduct business in

this District and wrongful conduct took place in this District.

                                     III.    THE PARTIES

       15.     Plaintiff purchased Romeo’s publicly traded common stock as detailed in the

attached Certification and was damaged thereby.

       16.     Defendant Romeo is incorporated in Delaware and its current principal executive

offices are located at 4380 Ayers Avenue, Vernon, California 90058.



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       17.     Defendant Lionel E. Selwood, Jr., (“Selwood, Jr.”) is the Company’s President

and Chief Executive Officer, and a member of the Company’s board of directors.

       18.     Defendant Lauren Webb (“Webb”) is the Company’s Chief Financial Officer and

a member of the Company’s board of directors.

       19.     Defendants Selwood, Jr. and Webb are referred to herein as the “Individual

Romeo Defendants.” The Individual Romeo Defendants, because of their positions with the

Company, possessed the power and authority to control the contents of Romeo’s press releases

and investor presentations to securities analysts and investors, money and portfolio managers and

institutional investors, i.e., the market. They were provided with copies of the Company’s

reports and press releases alleged herein to be misleading prior to or shortly after their issuance

and had the ability and opportunity to prevent their issuance or cause them to be corrected.

Because of their positions and access to material non-public information available to them but

not to the public, each of them knew or had reason to know that the adverse facts specified

herein had not been disclosed to and were being concealed from the public and that the positive

representations which were being made were then materially false and misleading.               The

Individual Romeo Defendants are liable for the false statements pleaded herein, as those

statements were each “group-published” information, the result of the collective actions of the

Individual Romeo Defendants.

       20.     Romeo and the Individual Romeo Defendants are referred to collectively as

“Romeo Defendants”.

       21.     Defendant Mancini was the CEO and a member of the board of RMG and is a

member of Romeo’s board of directors. Mancini signed the Registration Statement (defined

below).



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       22.      Defendant Kassin was a member of the board of RMG and is a member of

Romeo’s board of directors. Kassin signed the Registration Statement.

       23.      Defendant Carpenter was chairman of the board of RMG. Carpenter signed the

Registration Statement.

       24.      Defendant Steven P. Buffone (“Buffone”) was a member of the board of RMG,

and signed the Registration Statement.

       25.      Defendant W. Grant Gregory (“Gregory”) was a member of the board of RMG,

and signed the Registration Statement.

       26.      Defendant W. Thaddeus Miller (“Miller”) was a member of the board of RMG,

and signed the Registration Statement.

       27.      Defendant Craig Broderick (“Broderick”) was a member of the board of RMG,

and signed the Registration Statement.

       28.      Defendants Mancini, Kassin, Carpenter, Buffone, Gregory, Miller, and Broderick

are referred to collectively as the “RMG Defendants”.

       29.      The Romeo Defendants and RMG Defendants are referred to collectively as

“Defendants”.

                          IV.     CLASS ACTION ALLEGATIONS

       30.      Plaintiff brings this action as a class action pursuant to Federal Rules of Civil

Procedure 23(a) and 23(b)(3) on behalf of a class of all persons and entities who purchased the

publicly traded securities of Romeo (f/k/a RMG) during the period October 5, 2020 through

March 30, 2021, inclusive (the “Class”).

       31.      The members of the Class are so numerous that joinder of all members is

impracticable. While the exact number of Class members is unknown to Plaintiff at the present



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time and can only be ascertained through appropriate discovery, Plaintiff believes that there are

hundreds of members of the Class located throughout the United States. As of December 31,

2020, Romeo had over 126 million shares of common stock outstanding, which were actively

traded on the NYSE in an efficient market.

       32.     Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff

and all members of the Class have sustained damages because of Defendants’ unlawful activities

alleged herein. Plaintiff has retained counsel competent and experienced in class and securities

litigation and intends to pursue this action vigorously. The interests of the Class will be fairly

and adequately protected by Plaintiff. Plaintiff has no interests which are contrary to or in

conflict with those of the Class that Plaintiff seeks to represent.

       33.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy. Plaintiff knows of no difficulty to be encountered in the

management of this action that would preclude its maintenance as a class action.

       34.     Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

       (a)     whether the federal securities laws were violated by Defendants’ acts and

omissions as alleged herein;

       (b)     whether Defendants misstated and/or omitted to state material facts in their public

statements and filings with the SEC;

       (c)     whether Defendants participated directly or indirectly in the course of conduct

complained of herein; and

       (d)     whether the members of the Class have sustained damages and the proper



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measure of such damages.

                    V.     FALSE AND MISLEADING STATEMENTS

        35.    On October 5, 2020, Defendants caused RMG to file with the SEC on Form 8-K

an investor presentation dated October 2020. Among other things, Defendants’ October 2020

presentation represented that for 2020 Romeo estimated revenue of $11 million, and for 2021

revenue of $140 million.1 The October 2020 presentation represented that Romeo’s “extensive

cell selection process allows the company to rigorously test hundreds of cells and choose only

the best for each applications” and that their cell validation process was a “Critical gating step

for long-term commitments.”

        36.    On November 19, 2020, Defendants caused Romeo to file a November 2020

investor presentation with the SEC on Form 8-K, which repeated Romeo’s revenue estimate for

2020 and 2021.

        37.    On October 15, 2020, the RMG Defendants caused RMG to file a registration

statement on Form S-4 with the SEC (the “Registration Statement”). The Registration Statement

was amended on November 20, 2020 and December 4, 2020 on form S-4/A.                    The RMG

Defendants signed the Registration Statement.

        38.    The Registration Statement repeated Romeo’s $140 million revenue estimate for

2021.

        39.    The Registration Statement represented that the Company had a close relationship

with its purported power cell providers:

        Suppliers




1
 The statements quoted in this section in bold and italicized typeface are materially false and
misleading for the reasons set forth herein.

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               Our products use parts that are sourced from suppliers across the world.
       We have developed close relationships with vendors of key components of our
       battery products, in particular battery cells. . . .

              The price we pay for cells depends on a number of factors, including
       material grades of chemistry selected for cell recipe, volumes, long-term
       commitment, logistics and shipping, and tariffs.

       Samsung


       Samsung is a leading global supplier of electrical products and components.
       Through its supply of power cells to Romeo, Samsung currently supports the EV
       Program and is a candidate for stationary storage (“ESS”) applications. Samsung
       offers cylindrical and prismatic products.

       LG Chem

       LG Chem Ltd., often referred to as LG Chemical, is the largest Korean chemical
       company headquartered in Seoul, South Korea. LG Chem supplies Romeo with
       power cells, offers cell selection for non-EV Program and is an ESS candidate.
       LG Chem offers cylindrical and pouch products.

       Murata

       Murata Manufacturing Co., Ltd. is a Japanese manufacturer of electronic
       components. Murata is the best in market power cell for sports cars. Murata
       supplies Romeo with power cells and offers cylindrical and pouch products.

       SK Innovation

       SK innovation is Korea’s first and largest energy chemical company. SK supplies
       Romeo with power cells and offers pouch products.

       40.    The Registration Statement contained a generic warning of potential future risks

relating to “Increases in costs, disruption of supply or shortage of any of our battery

components, particularly cells, could harm our business”:

       From time to time, we may experience increases in the cost or a sustained
       interruption in the supply or shortage of our components. Any such increase or
       supply interruption could materially and negatively impact our business,
       prospects, financial condition and operating results. The prices for our
       components fluctuate depending on market conditions and global demand and
       could adversely affect our business, prospects, financial condition and


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        operating results. For instance, we are exposed to multiple risks relating to price
        fluctuations for battery cells. These risks include, but are not limited to:
                ● the inability or unwillingness of our suppliers and their competitors to
                build or operate cell production facilities to supply the numbers of cells
                required to support the growth of the electric vehicle industry as demand
                for such cells increases;
                ● disruption in the supply of cells due to quality issues or recalls by the
                cell manufacturers;
                ● a fewer number of manufacturers of cells; and
                ● an increase in the cost of raw materials.
        Any disruption in the supply of battery cells could temporarily disrupt
        production of our products until a different supplier is fully qualified. . . .

        41.     On December 10, 2020, RMG filed a proxy statement/consent solicitation

statement/prospectus with the SEC on Form 424B3, which is incorporated and formed part of the

Registration Statement. On December 10, 2020, the SEC declared the Registration Statement

effective.

        42.     On December 15, 2020, Defendants Webb and Selwood, Jr. participated in an

online interview in which Defendant Webb stated the following regarding the Company’s ability

to meet customer demand:

        [Defendant] Webb: Our current business plan assumes that we will fulfill all of
        the demand for the 1.6 billion in revenue out of our existing factory. And we have
        the space and the capacity here to do that. One of the reasons we chose this
        location was because we could expand incrementally to make sure that we were
        being smart with the capital expenditures we were making. So at this point we
        run one full line and we have the ability to put up to 10 more pack line, excuse
        me, module pack combinations here in order to accommodate that amount of
        demand. So while we may look at the opportunities to expand past that, we
        don’t have a reason to do so to fulfill the business orders that we have, or even
        what we see in the near term pipeline through 2025.

        43.      Defendant Selwood, Jr. further explained during the December 15 interview as

follows:

        Kristi Marvin: It’s challenging to keep up actually, but here it is. Hi, do you see
        any issues with securing enough cells to fulfill your large orders, especially as
        your order book grows into the billions?



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       [Defendant] Selwood Jr.: Sure. And that goes back to the Formfactor and cell
       supplier agnosticism, right? So that’s probably the least cool reason why we do it,
       to ensure that we have drop-in replacements that are already identified. So every
       time we talk to our customers or we do our testing, there’s a primary cell,
       there’s a secondary cell and there’s a tertiary cell. Okay? And we’ve approached
       our relationships from a technical one, so there’s technical respect between us and
       our suppliers from the cell level. And now we’re focused on securing our
       capacity for the long term. So I don’t see any big challenges as our order book
       continues to grow.

       44.       Defendant Selwood, Jr. further explained during the December 15 interview as

follows:

       Kristi Marvin: . . . So next question, how does the company deal with the tight
       supply of raw materials for batteries? Does the company have long-term contracts
       to guarantee supply?

       [Defendant] Selwood Jr.: Yes. So we’re currently putting those in place. We
       consider this as Operation Hedge Fund and we do this all the[] way at the
       component level. The reason we started this is quite frankly, some of the PCBA
       components have anywhere from 54 week lead time to 72 week lead time. So we
       implemented Operations Hedge Fund program in our supply base that allows
       us to secure products that’s needed for the long.

       45.       Defendant Selwood, Jr. further explained during the December 15 interview as

follows:

       Kristi Marvin: Okay, great. I’m going to go back to Lionel now. There’s a
       question here asking you to speak to your supply chain model and material
       sourcing. And what are your competitive advantages around that?

       [Defendant] Selwood Jr.: . . . So just like the configurability in our design, our
       strategy’s the same in a supply base. So on a sale, like I said before, foreign
       practice [c]ell supplier agnostic. It’s the same with the raw materials and the other
       stuff as well. So we go for a supply base that can support our way from our clean
       sheet design to prototype before mass production launch. So maintaining that
       flexibility, again. Every part within the bill of materials has a primary identified,
       which most likely have a longterm partnership with, a secondary and tertiary
       option just to enable flexibility as we scale up and scale down.

       46.       On December 30, 2020, Defendant Selwood, Jr. participated in an interview on

CNBC and stated:



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       Defendant Selwood, Jr.: . . . So, we are the foundational technology, we are the
       nucleus of electrification, and that’s what makes us different. You get exposure to
       the entire vertical. We’re not beholden to any one customer, or any one part of
       the value chain.

       47.      On February 25, 2021 Defendant Selwood, Jr. participated in an online

interview with Alan Adler, Detroit Bureau Chief, FreightWaves and stated:

       Alan Adler: . . . I want to start out our conversation and talk a little bit about your
       area, which is batteries. They are critical to the growth in electric vehicles. Where
       do you see, as we talk about supply chain here, where do you see the potential
       chinks in the supply chain, such as we’re seeing, say, with semiconductors in
       automobiles? Where are those potential hiccups?

       Defendant Selwood, Jr.: . . . we actually stood up a program that’s, you know,
       kind of tongue-in-cheek, Alan, called “Operation Hedge Fund,” where on a
       weekly basis we look out in the open market and if there's something that we
       see, something that's 56 weekly time or 72 weekly time lead times being pushed
       out, we actually grab it on the open market and put it on the shelf. . . .

       Alan Adler: So, hedge fund is an accurate description of what you did. You were
       hedging against supply that was a pretty smart move. So, it turns out.

       Defendant Selwood, Jr.: And let me expand – what we noticed again, just to – no
       matter how big your buy was, you know, you will have multi-billion dollar, you
       know, partners of ours that we’re growing together and they would be indicating
       to us that “hey even though we spent X amount of billions last year, our lead
       times are consistently being pushed out” and we’re there in stealth mode, and we
       said “hey we know that we have a great product and we’ll eventually capture a
       big market share, so we need to grab these so we’re not lying down.” So, that’s
       what drove it.

       48.      Also during the February 25, 2021 interview Defendant Selwood, Jr. further

discussed Romeo’s business plan in which they have “deliberately built partnerships up and

down the value chain - whereas with fleet managers” explaining that “we wanted to be flexible

from a value chain standpoint; to not be beholden to any level of the value chain; to agitate up

and down opportunities; and to be in a conversation short, medium and long-term.”

       49.      The statements referenced above were materially false and/or misleading

because at the time Defendants made these representations, Romeo was experiencing a


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constrained supply of battery cells. Contrary to Defendants’ representations, (i) Romeo had only

two battery cell suppliers, not four, (ii) the future potential risks that Defendants warned of

concerning supply disruption or shortage had already occurred and were already negatively

affecting Romeo’s business, operations and business prospects, (iii) Romeo did not have the

battery cell inventory to accommodate end-user demand and ramp up production in 2021, (iv)

Romeo’s supply constraint was a material hindrance to Romeo’s revenue growth, and (v)

Romeo’s supply chain for battery cells was not hedged, but in fact, was totally at risk and

beholden to just two battery cell suppliers and the spot market for their 2021 inventory. Given

the supply constraint that Romeo was experiencing during the Class Period, Defendants had no

reasonable basis to represent that the Company had the ability to meet customer demand and that

it would support growth in revenue in 2021.

                        VI.    THE TRUTH BEGINS TO EMERGE

       50.    On March 30, 2021, after the market closed, Romeo issued a press release and

filed a report with the SEC on Form 8-K that disclosed its financial results for the quarter and

year ended December 31, 2020 and conducted a conference call with investors and analysts.

Defendants shocked investors by disclosing that the Company’s production had been hampered

by a shortage of battery cells and that its estimated 2021 revenue would therefore be reduced by

approximately 71-87%.

       51.    On the March 30, 2021 conference call with investors and analysts, Defendant

Selwood, Jr. revealed, contrary to its prior representations, that the Company had been relying

solely on Samsung and LG for its supply of power cells:

       Adam Jonas: . . . I just kind of want to hear how that went down, when you first
       realized there was a serious problem with the supply that cut the revenue, because
       part of the story I thought was you know, you have four suppliers, four main
       cell suppliers well down to your selection process from I get you get the 100


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       and 10 to 4 and part of the investment thesis on this is that, because you had
       spread out these relationships across the four the best [c]ell suppliers in the
       world, that we could have really managed the risk or at least had visibility on
       something like this. So I’m curious, when did it first come up and was it all four
       cell suppliers at the same time? Or is there kind of a disproportionate just
       dependency on one or two of them? My first question.
       Lionel Selwood, Jr.: Hey, Adam. Thanks again for joining us. So, just a quick
       clarification, four part numbers, not four different cell suppliers, so our, our
       preferred cell suppliers that we -- that we put in the forecast are LG and
       Samsung, okay. I just wanted to clarify from those two suppliers.

(Emphasis added).

       52.      On March 31, 2021, Romeo shares declined from a closing price on March 30,

2021 of $10.37 per share to close at $8.33 per share, a decline of $2.04 per share, or almost 20%,

on heavier than usual volume of over 20 million shares.

       53.      Romeo’s stock has not recovered, closing at $8.33 per share on April 15, 2021.

                       VII.   LOSS CAUSATION/ECONOMIC LOSS

       54.     During the Class Period, as detailed herein, Defendants engaged in a scheme to

deceive the market and a course of conduct that artificially inflated Romeo stock price and

operated as a fraud or deceit on Class Period purchasers of Romeo stock by misrepresenting

Romeo’s financial condition, results of operations and business prospects. Defendants achieved

this by making false statements, while they knew or at least recklessly disregarded that the

Company was experiencing material negative conditions that impaired its financial condition,

results of operations and business prospects, and market price of its shares. Later, however,

when Defendants’ prior misrepresentations were disclosed and became apparent to the market,

the price of Romeo stock fell precipitously as the prior artificial inflation came out of Romeo’s

stock price.

       55.     As a result of their purchases of Romeo stock during the Class Period, Plaintiff

and other members of the Class suffered economic loss, i.e., damages under the federal securities

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laws.

        56.    As a direct result of the public revelations regarding the truth about the condition

of Romeo’s business and the negative adverse factors that had been impacting Romeo’s business

during the Class Period, the price of Romeo’s stock materially declined. This drop removed the

inflation from Romeo’s stock price, causing real economic loss to investors who purchased the

stock during the Class Period.

        57.    The decline in Romeo’s stock price at the end of the Class Period was a direct

result of the nature and extent of Defendants’ fraud finally being revealed to investors and the

market. The timing and magnitude of Romeo’s stock price decline negates any inference that the

loss suffered by Plaintiff and other Class members was caused by changed market conditions,

macroeconomic or industry factors, or Company-specific facts unrelated to the Defendants’

fraudulent conduct.

                      VIII. FRAUD-ON-THE-MARKET DOCTRINE

        58.    At all relevant times, the market for Romeo’s securities was an efficient market

for the following reasons, among others:

        (a)    The Company’s securities met the requirements for public listing and was listed

and actively traded on the NYSE, a highly efficient market;

        (b)    As a regulated issuer, the Company filed periodic public reports with the SEC;

        (c)    The Company regularly issued press releases which were carried by national news

wires. Each of these releases was publicly available and entered the public marketplace; and

        (d)    A number of securities analysts, including Morgan Stanley and Cowen and

Company regularly followed and analyzed the Company, and issued reports concerning the

Company.



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       59.     As a result, the market for the Company’s publicly traded securities promptly

digested current information with respect to Romeo from all publicly available sources and

reflected such information in the price of the Company’s securities. Under these circumstances,

all purchasers of the Company’s publicly traded securities during the Class Period suffered

similar injury through their purchase of the publicly traded securities of Romeo at artificially

inflated prices and a presumption of reliance applies.

                     IX.    ADDITIONAL SCIENTER ALLEGATIONS

       60.     As alleged herein, Defendants acted with scienter in that Defendants knew that

the public documents and statements issues or disseminated in the name of the Company were

materially false and misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced

in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, Defendants, by virtue of their

receipt of information reflecting the true facts regarding Romeo, their control over, and/or receipt

and/or modification of Romeo’s allegedly materially misleading misstatements and/or their

associations with the Company which made them privy to confidential proprietary information

concerning Romeo, participated in the fraudulent scheme alleged herein.

       61.     Defendants knew or recklessly disregarded the falsity and misleading nature of

the information which they caused to be disseminated to the investing public. The ongoing

fraudulent scheme described in this complaint could not have been perpetrated over a substantial

period of time, as has occurred, without the knowledge and complicity of the personnel at the

highest level of the Company, including the Individual Romeo Defendants.




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       62.     Defendants had the motive and opportunity to perpetrate the fraudulent scheme

and course of business described herein because they were the most senior officers or directors

of Romeo or RMG, issued statements and press releases on behalf of Romeo and had the

opportunity to commit the fraud alleged herein.

                                   X.      NO SAFE HARBOR

       63.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this complaint.

Many of the specific statements pleaded herein were not identified as “forward-looking

statements” when made. To the extent there were any forward-looking statements, there were no

meaningful cautionary statements identifying important factors that could cause actual results to

differ materially from those in the purportedly forward-looking statements.

       64.     Alternatively, to the extent that the statutory safe harbor does apply to any

forward-looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the particular

speaker knew that the particular forward looking statement was false, or the forward-looking

statement was authorized and/or approved by an executive officer of Romeo who knew that

those statements were false when made.

                                FIRST CLAIM FOR RELIEF
                      For Violation of Section 10(b) of the Exchange Act
                           and Rule 10b-5 Against All Defendants

       65.     Plaintiff incorporates the allegations set forth above as if fully set forth herein.

       66.     During the Class Period, Defendants disseminated or approved the false

statements specified above, which they knew or recklessly disregarded were materially false and

misleading in that they contained material misrepresentations and failed to disclose material facts



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necessary in order to make the statements made, in light of the circumstances under which they

were made, not misleading.

        67.    Defendants violated Section 10(b) of the Exchange Act and Rule 10b-5 in that

they:

        (a)    Employed devices, schemes and artifices to defraud;

        (b)    Made untrue statements of material facts or omitted to state material facts

necessary in order to make statements made, in light of the circumstances under which they were

made not misleading; or

        (c)    Engaged in acts, practices, and a course of business that operated as a fraud or

deceit upon Plaintiff and others similarly situated in connection with their purchases of Romeo

publicly traded securities during the Class Period.

        68.    Plaintiff and the Class have suffered damages in that, in reliance on the integrity

of the market, they paid artificially inflated prices for Romeo’s publicly traded securities.

Plaintiff and the Class would not have purchased Romeo securities at the prices they paid, or at

all, if they had been aware that the market prices had been artificially and falsely inflated by

Defendants’ misleading statements.

        69.    As a direct and proximate result of these Defendants’ wrongful conduct, Plaintiff

and the other members of the Class suffered damages in connection with their purchases of

Romeo securities during the Class Period.

                              SECOND CLAIM FOR RELIEF
                      For Violation of Section 20(a) of the Exchange Act
                          Against the Individual Romeo Defendants

        70.    Plaintiff incorporates the allegations set forth above as if fully set forth herein.




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       71.      The Individual Romeo Defendants acted as a controlling person of Romeo within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions, and their ownership and contractual rights, participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the statements filed by the Company with

the SEC and disseminated to the investing public, the Individual Romeo Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements

which Plaintiff contends are false and misleading. The Individual Romeo Defendants were

provided with or had unlimited access to copies of the Company’s reports, press releases, public

filings and other statements alleged by Plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or

cause the statements to be corrected.

       72.      In particular, the Individual Romeo Defendants had direct and supervisory

involvement in the day-to-day operations of the Company and, therefore, are presumed to have

had the power to control or influence the particular transactions giving rise to the securities

violations as alleged herein, and exercised the same.

       73.      As set forth above, Romeo and the Individual Romeo Defendants each violated

Section 10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue

of their positions each as a controlling person, the Individual Romeo Defendants are liable

pursuant to Section 20(a) of the Exchange Act. As a direct and proximate result of Romeo’s and

the Individual Romeo Defendants’ wrongful conduct, Plaintiff and other members of the Class

suffered damages in connection with their purchases of the Company’s securities during the

Class Period.



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                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment as follows: declaring this action to be a

proper class action; awarding damages, including interest; awarding reasonable costs, including

attorneys’ fees; and such equitable/injunctive relief as the Court may deem proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury.

Dated: April 16, 2021                       KAPLAN FOX & KILSHEIMER LLP

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                                            Class




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                                                       CERTIFICATION

            I, Travis Nichols, hereby certify and swear as follows:

                1. I have reviewed a complaint against Romeo Power Inc. alleging violations of the securities
                     laws and authorize the filing of a complaint;
                2. I am willing to serve as a representative party on behalf of a class, or to be a member of a
                     group representing a class, including providing testimony at deposition and trial, if
                     necessary;
                3. I have not within the 3-year period preceding the date hereof sought to serve, or served, as a
                     representative party on behalf of a class in an action brought under the federal securities
                     laws;
                4. My transactions in Romeo Power Inc. securities during the proposed class period are set
                     forth in chart below:
                      BUY/SELL         DATE       NUMBER OF SHARES             PRICE PER SHARE
                      Buy            1/5/2021     2,981                        $20.72
                      Buy            1/5/2021     300                          $20.71
                      Buy            1/5/2021     1                            $20.69
                      Buy            1/4/2021     1                            $22.98
                      Buy            1/4/2021     282                          $22.99
                      Buy            1/4/2021     2,328                        $23.15
                      Buy            1/4/2021     5                            $23.18

                5. I did not purchase Romeo Power Inc. common stock at the direction of my counsel or in
                     order to participate in any private action under the federal securities laws; and
                6. I will not accept any payment for serving as a representative party on behalf of a class
                     beyond my pro rata share of any recovery, except as ordered or approved by the Court.


            I declare under penalty of perjury that the foregoing is true and correct.


            Date: April ____, 2021
                   4/13/2021

                                                                              TRAVIS NICHOLS
